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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   TERRE HAUTE DIVISION

 STEVEN LEON DAVIS, Individually and                    )
 As Personal Representative of the Estate of            )
 MARY ALICE DAVIS, Deceased,                            )
                                                        )
                                Plaintiff,              )
        v.                                              )   CASE NO. 2:12-CV-0373JMS-WGH
                                                        )
 WILLIAM RYAN SUTHERLAND, M.D.,                         )
 HIRISADARAHALLY NAGARAJA, M.D., and                    )
 UNION HOSPITAL, INC.,                                  )
                       Defendants.                      )

                      SECOND AMENDED COMPLAINT FOR DAMAGES
                                      AND
                             DEMAND FOR TRIAL BY JURY

                                               COUNT I

        Plaintiff Steven Leon Davis, individually and as personal representative of the estate of

 Mary Alice Davis, deceased, by counsel, for his cause of action against the defendants alleges

 and states the following:

        1.      At all relevant times mentioned herein, Steven Leon Davis was the lawful

 husband of Mary Alice Davis. He is a citizen of Illinois and the duly appointed, acting, and

 qualified personal representative of the estate of Mary Alice Davis, having been so appointed by

 the Edgar County Circuit Court, State of Illinois, Cause No. 2009-P-18, on April 15, 2009. The

 decedent was a citizen of the state of Illinois.

        2.      William Ryan Sutherland, M.D., is a citizen of Kentucky. Hirisadarahally

 Nagaraja, M.D., is a citizen of Indiana. Union Hospital, Inc., is a domestic corporation

 incorporated under the laws of Indiana with its principal place of business in Indiana.




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        3.       The amount in controversy, without interests and costs, exceeds the sum or value

 of $75,000 as specified by 28 U.S.C. §1332. In addition to the personal injuries and damages

 alleged below, plaintiff incurred more than $700,000 in medical expenses on account of the

 negligent treatment of Mary Davis.

        4.       At all relevant times mentioned herein, William Ryan Sutherland, M.D., Union

 Hospital, Inc., and Hirisadarahally Nagaraja, M.D., were qualified health care providers pursuant

 to I.C. 34-18-1-1 et seq. Because each defendant is a qualified health care provider under the

 Indiana Medical Malpractice Act, each defendant has liability coverage of $250,000.00, with

 additional coverage from the Indiana Patient’s Compensation Fund. As a qualified health care

 provider, each defendant is jointly and severally liable for all of plaintiff’s damages. Plaintiff’s

 damages exceed the sum or value of $75,000 exclusive of interests and costs as specified by 28

 U.S.C. §1332.

        5.       Pursuant to Indiana law, this claim was presented to a medical review panel which

 issued a unanimous opinion on or about October 9, 2012, that William Ryan Sutherland, M.D.,

 and Hirisadarahally Nagaraja, M.D., breached the standard of care. A copy of the medical

 review panel opinion is attached as Exhibit 1.

        6.       At all relevant times mentioned herein, Mary Alice Davis had a physician patient

 relationship with William Ryan Sutherland, M.D., and Hirisadarahally Nagaraja, M.D.,

 respectively.

        7.       On or about July 19, 2007, Hirisadarahally Nagaraja, M.D., commenced the care

 and treatment of Mary Alice Davis.

        8.       On or about October 19, 2007, William Ryan Sutherland, M.D., commenced the

 care and treatment of Mary Alice Davis, including surgery performed on or about November 27,



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 2007 at Union Hospital, Inc., where she received care and treatment from Union Hospital, Inc.,

 by its agents and employees.

         9.      The care provided to Mary Alice Davis by William Ryan Sutherland, M.D.;

 Hirisadarahally Nagaraja, M.D.; and Union Hospital, Inc., by its agents and employees, was

 negligent.

         10.     As a direct and proximate result of the negligence of William Ryan Sutherland,

 M.D.; Hirisadarahally Nagaraja, M.D.; and Union Hospital, Inc., by its agents and employees,

 and each of them, Mary Alice Davis endured additional surgical procedures including

 splenectomy and pancreatectomy; suffered debilitating injuries including respiratory failure,

 sepsis, DIC, renal failure; physical pain and suffering; emotional distress; and incurred hospital,

 medical, rehabilitation, and other expenses, all of which continued until her death.

         11.     As a direct and proximate result of the negligence of William Ryan Sutherland,

 M.D.; Hirisadarahally Nagaraja, M.D.; and Union Hospital, Inc., by its agents and employees,

 and each of them, Steven Leon Davis suffered loss of love and companionship and support of his

 wife, and incurred medical and other expenses and losses on account of her injuries.

         WHEREFORE, Steven Leon Davis, individually and as personal representative of the

 estate of Mary Alice Davis prays for damages against the defendants, jointly and severally, in an

 amount which will fully and fairly compensate for these losses, the costs of this action, trial by

 jury, and for all other just and proper relief.




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                                                    COUNT II

        Plaintiff Steven Leon Davis, individually and as personal representative of the estate of

 Mary Alice Davis, deceased, by counsel, for his cause of action against the defendants alleges

 and states the following:

        1.      At all relevant times mentioned herein, Steven Leon Davis was the lawful

 husband of Mary Alice Davis. He is a citizen of Illinois and the duly appointed, acting, and

 qualified personal representative of the estate of Mary Alice Davis, having been so appointed by

 the Edgar County Circuit Court, State of Illinois, Cause No. 2009-P-18, on April 15, 2009. The

 decedent was a citizen of the state of Illinois.

        2.      William Ryan Sutherland, M.D., is a citizen of Kentucky. Hirisadarahally

 Nagaraja, M.D., is a citizen of Indiana. Union Hospital, Inc., is a domestic corporation

 incorporated under the laws of Indiana with its principal place of business in Indiana.

        3.      The amount in controversy, without interests and costs, exceeds the sum or value

 of $75,000 specified by 28 U.S.C. §1332. Plaintiff claims damages for the wrongful death of

 Mary Davis which includes more than $700,000 in medical expenses on account of the

 negligent treatment of Mary Davis.

        4.      At all relevant times mentioned herein, William Ryan Sutherland, M.D., Union

 Hospital, Inc., and Hirisadarahally Nagaraja, M.D., were qualified health care providers pursuant

 to I.C. 34-18-1-1 et seq. Because each defendant is a qualified health care provider under the

 Indiana Medical Malpractice Act, each defendant has liability coverage of $250,000.00, with

 additional coverage from the Indiana Patient’s Compensation Fund. As a qualified health care

 provider, each defendant is jointly and severally liable for all of plaintiff’s damages. Plaintiff’s




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 damages exceed the sum or value of $75,000 exclusive of interests and costs as specified by 28

 U.S.C. §1332.

        5.       Pursuant to Indiana law, this claim was presented to a medical review panel which

 issued a unanimous opinion on or about October 9, 2012, that William Ryan Sutherland, M.D.,

 and Hirisadarahally Nagaraja, M.D., breached the standard of care. A copy of the medical

 review panel opinion is attached as Exhibit 1.

        6.       At all relevant times mentioned herein, Mary Alice Davis had a physician patient

 relationship with William Ryan Sutherland, M.D., and Hirisadarahally Nagaraja, M.D.,

 respectively.

        7.       On or about July 19, 2007, Hirisadarahally Nagaraja, M.D., commenced the care

 and treatment of Mary Alice Davis.

        8.       On or about October 19, 2007, William Ryan Sutherland, M.D., commenced the

 care and treatment of Mary Alice Davis, including surgery performed on or about November 27,

 2007 at Union Hospital, Inc., where she received care and treatment from Union Hospital, Inc.,

 by its agents and employees.

        9.       The care provided to Mary Alice Davis by William Ryan Sutherland, M.D.;

 Hirisadarahally Nagaraja, M.D.; and Union Hospital, Inc., by its agents and employees, was

 negligent.

        10.      As a direct and proximate result of the negligence of William Ryan Sutherland,

 M.D.; Hirisadarahally Nagaraja, M.D.; and Union Hospital, Inc., by its agents and employees,

 and each of them, Mary Alice Davis endured additional surgical procedures including

 splenectomy and pancreatectomy; suffered debilitating injuries including respiratory failure,




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 sepsis, DIC, renal failure; incurred additional medical and treatment expenses, and died as a

 result of her injuries.

         11.     As a direct and proximate result of the negligence of William Ryan Sutherland,

 M.D.; Hirisadarahally Nagaraja, M.D.; and Union Hospital, Inc., by its agents and employees,

 and each of them, Steven Leon Davis suffered the loss of love and companionship and support

 on account of the death of his wife, and incurred funeral, burial, medical, and other expenses

 including attorneys’ fees, and litigation expenses on account of her death.

         12.     As a direct and proximate result of the negligence of William Ryan Sutherland,

 M.D.; Hirisadarahally Nagaraja, M.D.; and Union Hospital, Inc., by its agents and employees,

 and each of them, the estate of Mary Alice Davis has incurred medical and hospital expenses,

 funeral and burial expenses, attorneys’ fees, costs of administration, and litigation expenses on

 account of her death.

         WHEREFORE, Steven Leon Davis, individually and as personal representative of the

 estate of Mary Alice Davis prays for damages against the defendants, jointly and severally, in an

 amount which will fully and fairly compensate for these losses, the costs of this action, trial by

 jury, and for all other just and proper relief.

                                         Respectfully submitted,

                                         GARAU GERMANO HANLEY & PENNINGTON, P.C.


                                         /s/ Deborah K. Pennington
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                                  CERTIFICATE OF SERVICE


        I hereby certify that on the 13th day of February, 2013, the foregoing pleading was filed

 electronically with the United States District Court. Notice of this filing will be sent to the

 following attorneys of record by operation of the Court’s electronic filing system, parties may

 access this filing through the Court’s system:

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                                                /s/Deborah K. Pennington




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